                                    Case 18-14610                 Doc 4       Filed 04/07/18             Page 1 of 2

Information to identify the case:
Debtor
                   3−D Concepts, LLC                                                            EIN 20−2707447
                   Name


United States Bankruptcy Court District of Maryland
                                                                                                Date case filed for chapter 7 4/6/18
Case number: 18−14610 MMH                       Chapter: 7

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                       12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can
be required to pay actual and punitive damages and attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
case. Visit http://www.mdb.uscourts.gov/ and click on Filing Without An Attorney for additional resources and
information.


Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        3−D Concepts, LLC

2. All other names used in the
   last 8 years
3. Address                                   1006 Parksley Ave
                                             Baltimore, MD 21223

4. Debtor's attorney                         Marc A. Ominsky                                                   Contact phone 443−539−8712
                                             The Law Offices of Marc A. Ominsky                                Email: marc@mdlegalfirm.com
    Name and address                         Century Plaza Building
                                             10632 Little Patuxent Parkway
                                             Suite 249
                                             Columbia, MD 21044

5. Bankruptcy trustee                        Marc H. Baer                                                      Contact phone 443−712−2529
                                             455 Main Street                                                   Email: None
    Name and address                         Reisterstown, MD 21136

6. Bankruptcy clerk's office                 Baltimore Division                                                Visit http://www.mdb.uscourts.gov/ for court
                                             101 West Lombard Street, Ste. 8530                                hours
    Documents in this case may be            Baltimore, MD 21201
    filed at this address. You may
    inspect all records filed in this case                                                                     Contact phone (410) 962−2688
    at this office or online at              Clerk of the Bankruptcy Court:
    www.pacer.gov.                           Mark A. Neal                                                      Date: 4/9/18

7. Meeting of creditors                      May 15, 2018 at 11:00 AM                                          Location:
    The debtor's representative must         The meeting may be continued or adjourned to a later date. If
    attend the meeting to be                                                                                   101 W. Lombard Street, Garmatz
                                             so, the date will be on the court docket.                         Courthouse, 2nd Fl., #2650, Baltimore,
    questioned under oath. Creditors
    may attend, but are not required to                                                                        MD 21201
    do so.

                                                                                                             For more information, see page 2 >
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Debtor 3−D Concepts, LLC                                                                                                         Case number 18−14610

8. Proof of claim                       No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of       If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice   that you may file a proof of claim and stating the deadline.
    to do so.

9. Deadlines:                           Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts:
    Papers must be received by the      Deadline to Object to Exemptions: Thirty (30) days after the conclusion of the meeting of creditors.
    bankruptcy clerk's office by the
    following deadlines:

10. Creditors with a foreign             If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                              extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                         any questions about your rights in this case.

11. Debtor electronic                    The U.S. Bankruptcy Court for the District of Maryland offers debtors the ability to receive court notices and
    bankruptcy noticing                  orders via email, instead of U.S. mail, through the Debtor Electronic Bankruptcy Noticingor DeBN program. To
                                         participate in this program, debtors must complete and file a DeBN request form with the Court. For additional
                                         information, please go to Programs & Services of http://www.mdb.uscourts.gov.




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